    24-3137 (lead case), 24-3388, 24-3415, 24-3442, 24-3469

  In the United States Court of Appeals
          for the Eighth Circuit
                   —————————————————————
   CUSTOM COMMUNICATIONS, INC., D/B/A CUSTOM ALARM, ET AL.,
                                         Petitioners,
                                    v.
                     FEDERAL TRADE COMMISSION,
                                         Respondent.
                   —————————————————————

             On Petitions for Review of an Order of the
                    Federal Trade Commission

                PETITIONERS’ OPENING BRIEF

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                       SUMMARY OF THE CASE

     These consolidated cases challenge a Federal Trade Commission

rule issued without statutory authority.             In decades past, the

Commission stifled commerce with overbroad and indiscriminate rules

regarding purportedly unfair or deceptive acts or practices. To stop these

regulatory excesses, Congress expressly limited the Commission’s

rulemaking power to “specific” rules regarding “prevalent” unfair or

deceptive acts or practices. Here, the Commission brushed aside those

restrictions and requirements.        In a return to days gone by, the

Commission issued a rule that regulates over a billion recurring

subscription agreements that hundreds of millions of Americans use and

rely on for everything from newspapers to lawn care. Although Congress

has already enacted multiple statutes regulating particular types of

subscriptions, this rule would displace all those statutes with new, one-

size-fits-all requirements that effectively override and extend well

beyond Congress’s more targeted laws.

     To properly address the issues presented, Petitioners respectfully

submit that oral argument would be beneficial and that 30 minutes per

side would be adequate.


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            CORPORATE DISCLOSURE STATEMENT

     Pursuant to Fed. R. App. P. 26.1 and 8th Cir. R. 26.1A, petitioners

Custom Communications, Inc., d/b/a Custom Alarm, Electronic Security

Association, Inc., Interactive Advertising Bureau, NCTA – The Internet

& Television Association, Michigan Press Association, National

Federation of Independent Business, Inc., the Chamber of Commerce of

the United States of America, and the Georgia Chamber of Commerce,

make the following disclosures:

     Custom Communications, Inc., d/b/a Custom Alarm has no parent

corporation, and no publicly held company owns 10% or more of its stock.

     The Electronic Security Association, Inc. has no parent corporation,

and no publicly held company owns 10% or more of its stock.

     The Interactive Advertising Bureau has no parent corporation, and

no publicly held company owns 10% or more of its stock.

     NCTA – The Internet & Television Association has no parent

corporation, and no publicly held company owns 10% or more of its stock.

     The Michigan Press Association has no parent corporation, and no

publicly held company owns 10% or more of its stock.




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      The National Federation of Independent Business, Inc. has no

parent corporation, and no publicly held company owns 10% or more of

its stock.

      The Chamber of Commerce of the United States of America has no

parent corporation, and no publicly held company owns 10% or more of

its stock.

      The Georgia Chamber of Commerce has no parent corporation, and

no publicly held company owns 10% or more of its stock.




Dated: February 18, 2025                 Respectfully submitted,

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                             INTRODUCTION

     This is no ordinary administrative challenge. In the final days of

the Biden Administration, the Federal Trade Commission used a statute

that limits the agency’s rulemaking power to hurriedly promulgate, by a

3-2 vote, a rule regulating over a billion recurring subscription

agreements across all sectors of the U.S. economy (the “Rule”). These are

contracts that more than 220 million Americans rely on for everything

from newspapers and internet service to lawn care and home security.

Their only shared feature? They continue to provide some good or service

until the customer cancels, allowing consumers the convenience of

uninterrupted service and lower transaction costs. The Commission calls

these subscriptions “negative option” contracts, and the Rule deems them

categorically “unfair or deceptive” unless sellers meet a new set of

complex requirements.

     The Commission lacks authority for this indiscriminate regulation.

In the 1970s, the Commission earned a reputation as the “second most

powerful legislature in America” because it tried to use its powers over

“unfair or deceptive acts or practices” to issue overbroad rules on

everything from funeral homes to door-to-door sales.             App.449 n.11


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(Add.66 n.11). Congress responded by sharply limiting the Commission’s

rulemaking powers.          Specifically, Section 18 of the Federal Trade

Commission Act (“FTC Act”) provides that the Commission may make

rules regarding only “specific[]” and “prevalent” “unfair or deceptive acts

or practices,” 15 U.S.C. § 57a(a)(1)(B), (b)(3), and then only after

following rigorous procedural requirements that go above and beyond the

Administrative Procedure Act. These express statutory restrictions on

the Commission’s powers essentially ended its rulemakings for several

decades.

     Yet in a return to old form, the Commission brushed aside those

unique restrictions here.        The Commission issued a Rule broadly

regulating all recurring subscription agreements in all sectors of the

economy. But regulating a billion-plus contracts across every industry,

with terms that the Commission concedes will “vary” for each contract,

App.393 (Add.10), is hardly “specific.” And the Commission itself has

acknowledged that it lacks evidence of “prevalent” unfair or deceptive

recurring subscriptions in multiple industries that the Rule covers.

     Worse,    Congress       has   already   regulated     certain    recurring

subscriptions by statute. For example, Congress has enacted statutes


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that regulate online subscriptions, cable and broadband subscriptions,

and electronic fund transfer subscriptions. See 15 U.S.C. §§ 8403, 1693c;

47 U.S.C. § 562. Each of those statutes provides custom-fit regulations

for the targeted industries, showing Congress never meant to regulate all

recurring subscriptions, much less in a uniform way. Yet the Rule is

broader and more onerous than all of those statutes combined, sweeping

aside their differences and limits with a one-size-fits-all code of consumer

protection that deems subscriptions to be unfair or deceptive even when

they comply with Congress’s policy choices.           But the Commission’s

limited authority cannot be a license to override Congress. In fact, that

is the sort of power-grab that Congress meant to stop when it cut back

the agency’s rulemaking power.

     The Commission also disregarded a key procedural requirement

that Congress enacted to cabin the Commission’s rulemakings. Because

the Rule will have massive economic effects, the Commission was

required to issue an additional, preliminary regulatory analysis.             15

U.S.C. § 57b-3(b)(1). That analysis needed to contain a description of any

reasonable alternatives to the proposed rule and a cost-benefit analysis

of the proposed rule and each alternative. Id. The statute expressly


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requires a “public comment period” for the preliminary regulatory

analysis, id. § 57b-3(b)(2)(E), thus helping the Commission both to

understand the consequences of the proposed rule and to keep the rule

within the limits of its authority. But the Commission has conceded that

it never issued that required preliminary analysis. Opposition of the FTC

to Motion for Stay, Entry ID 5469046, at 15-16 (8th Cir. Dec. 20, 2024)

(“FTC Stay Opp.”). That failing alone requires vacatur under the FTC

Act. See 15 U.S.C. § 57b-3(c). And it underscores the Commission’s

disregard for the statutory limits in its desire to push ahead with such a

broad rule.

     Beyond those failures, the Rule is arbitrary and capricious because

the Commission failed properly to grapple with multiple problems in its

pre-election rush to get this economy-wide Rule out the door.                For

example, the Rule requires all covered entities to make cancelling a

recurring subscription “at least as easy” as signing up for one. Rule

§ 425.6; App.447 (Add.64). Although that might sound simple enough,

the reality is far more complex. There are many times—such as when

dealing with home security services—when additional steps are required

for cancelling to ensure customer security and continuity of potentially


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life-saving services. And making it harder for companies to explain the

potential consequences of cancelling services or to tell customers about

better deals and discounts makes no sense at all. Yet the Commission

never adequately addressed those problems, failing even to try to assess

how the Rule will affect the many different types of companies that offer

recurring subscriptions.

        Petitioners thus respectfully request that the Court vacate the

Rule.

                              JURISDICTION

        The Court has jurisdiction to review the Rule under 15 U.S.C.

§ 57a(e)(1)(A) and 28 U.S.C. § 2112(a).         Petitioners filed their four

petitions for review on October 22, 2024, six days after the Commission

issued and promulgated the Rule on October 16, 2024. Because different

Petitioners filed in different courts of appeals, the Commission was

required to “promptly . . . notify the judicial panel on multidistrict

litigation” (“JPML”) of those petitions so that the JPML could run a

lottery and consolidate the petitions in one court. 28 U.S.C. § 2112(a).

After the Commission initially refused to notify the JPML, several

Petitioners filed a petition for a writ of mandamus in the Fifth Circuit to


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compel the Commission to do so. The Fifth Circuit issued the requested

writ of mandamus, see Order, In re Elec. Sec. Ass’n, No. 24-60570 (5th

Cir. Nov. 19, 2024), and the JPML then designated this Court to

consolidate the petitions, Consolidation Order, In re FTC, Negative

Option Rule, MCP No. 192 (Nov. 21, 2024). All petitions were transferred

to and consolidated in this Court by December 4, 2024.

     Petitioners have Article III standing to challenge the Rule. Custom

Communications, Inc., d/b/a Custom Alarm will be directly regulated and

harmed by the Rule. See, e.g., Appendix to Motion to Stay at 137-62,

Entry ID 5463205 (8th Cir. Dec. 5, 2024) (“Stay App.”). Other Petitioners,

including (but not limited to) the Electronic Security Association and the

U.S. Chamber of Commerce, have submitted declarations from identified

members who will be regulated and harmed by the Rule. See, e.g., Stay

App.163-215; Stay App.420-56.          Those Petitioners will adequately

represent their members, and their members’ participation is not

required for these petitions. See Warth v. Seldin, 422 U.S. 490, 515

(1975).




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                           STATEMENT OF ISSUES

       I.     Whether the Rule exceeds the Commission’s statutory

              authority under 15 U.S.C. § 57a.

              • Garland v. Cargill, 602 U.S. 406 (2024)

              • Loper Bright Enters. v. Raimondo, 603 U.S. 369 (2024)

      II.     Whether the Commission failed to follow the statutory

              procedures in 15 U.S.C. § 57b-3.

              • Nat’l Auto. Dealers Ass’n v. FTC, ___ F.4th ___, 2025 WL
                304460 (5th Cir. Jan. 27, 2025)

     III.     Whether the Rule is arbitrary and capricious.

              • Ohio v. EPA, 603 U.S. 279 (2024)

              • Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co.,
                463 U.S. 29 (1983)

                         STATEMENT OF THE CASE

A.      The Federal Trade Commission Act

        Section 5 of the FTC Act provides the Commission with authority

to “prevent . . . unfair or deceptive acts or practices in or affecting

commerce.” 15 U.S.C. § 45(a). But the Commission must follow a multi-

step process before it can bring an enforcement action for penalties under

Section 5. It must first initiate an administrative proceeding and issue a



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cease-and-desist order, which is subject to judicial review; only then may

the Commission try to bring a lawsuit for civil penalties for any violation

of the cease-and-desist order. See id. § 45(b), (c), (l), (m). That process

ensures that companies have notice before they are accused of violating

Section 5’s vague language and that the Commission remains “within its

statutory authority,” as checked by an Article III court. A.L.A. Schechter

Poultry Corp. v. United States, 295 U.S. 495, 533 (1935).

     For much of the Act’s history, the Commission respected those

limits and relied exclusively on administrative cease-and-desist orders

for enforcement purposes. See Am. Fin. Servs. Ass’n v. FTC, 767 F.2d

957, 967 (D.C. Cir. 1985). But in the 1970s, the Commission began to

propose a series of sweeping rules that deemed certain acts “unfair or

deceptive” under dubious assertions of authority. App.449 (Add.66). For

example,    the   Commission      issued    rules    governing     mail    order

merchandising,     door-to-door    sales,   and     prenotification   recurring

subscriptions. See 27 Fed. Reg. 22,933 (Dec. 29, 1962); 40 Fed. Reg.

51,582 (Nov. 5, 1975).       These rules helped make it easier for the

Commission to obtain cease-and-desist orders—but they sparked a

backlash in Congress about the Commission’s power and the “breadth of


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[its] discretion.” J. Howard Beales III & Timothy J. Muris, Back to the

Future: How Not to Write a Regulation at 1, 7, AEI (June 2022),

https://www.aei.org/research-products/report/back-to-the-future-how-

not-to-write-a-regulation/ (noting the Commission’s former status as “the

second-most powerful legislature in Washington”).

     Congress responded with the Magnuson-Moss Warranty‒FTC

Improvement Act of 1974. Magnuson-Moss codified the Commission’s

rulemaking power in Section 18 of the FTC Act while also imposing limits

“to control the [Commission’s] discretion.” Beales & Muris, supra, at 8.

Magnuson-Moss clarified that the Commission had authority only to

issue rules that “define with specificity” “unfair or deceptive acts or

practices,” and then only after satisfying numerous procedural

requirements above and beyond the typical APA rulemaking. Pub. L. No.

93-637, § 202, 88 Stat. 2183, 2193 (1975) (emphasis added).

     Instead of heeding those limits, the Commission “launched a

rulemaking binge.” Beales & Muris, supra, at 8. Within a few years, it

started more than a dozen rulemakings on everything from health spas

and funeral homes to the general standards for the size, quality, and

safety of goods and materials. See id.; S. Rep. 96-500, at 19 (1979). The


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Commission even proposed a ban on all television advertising to children,

earning it the moniker “National Nanny” from the Washington Post.

App.449 (Add.66).

      Congress quickly clarified that the Commission “had [gone] beyond

[its] intent.”   S. Rep. 96-500, at 2.      As Congress viewed things, the

Commission only had “authority to issue industry-wide rules.” Id. at 2-

3. Congress thus suspended the Commission’s funding for a few years

and prohibited it from continuing with rulemakings for “overly broad”

and “far reaching” rules on children’s advertising or standards for goods

and materials. Id. (emphasis added); FTC Improvements Act of 1980,

Pub. L. No. 96-252, 94 Stat. 374; see also H.R. Rep. 103-138, at 3 (1993).

Congress also enacted additional “procedural refinements” to “minimize

these problems” with respect to the “scope” of the Commission’s rules. S.

Rep. 96-500, at 4; Pub. L. No. 96-252.         A few years later, Congress

amended the FTC Act again, adding new restrictions on the

Commission’s rulemaking powers while attempting to clarify the

Commission’s authority over “unfair or deceptive acts or practices.” See

Pub. L. No. 103-312, § 5, 108 Stat. 1691, 1692 (1994) (adding a

“prevalence” requirement).


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     The result of these reforms is the modern Section 18—which gives

the Commission authority to promulgate only rules “which define with

specificity acts or practices which are unfair or deceptive,” and then only

if the Commission has evidence that those acts or practices are

“prevalent.”    15 U.S.C. § 57a(a)(1)(B), (b)(3), (d)(1).        Within those

substantive limits, the Commission must also satisfy numerous

procedural steps under the FTC Act.              Among other things, the

Commission must:

  • Publish an “advance notice of proposed rulemaking,” with notice to

     Congress, id. § 57a(b)(2)(A)–(B), followed by a “notice of proposed

     rulemaking,” id. § 57a(b)(1)(A);

  • Provide an opportunity for “an informal hearing,” which involves

     additional submissions and cross-examination on “disputed issues

     of material fact,” id. § 57a(b)(1)(C), (c), (e)(3)(B);

  • If the proposed rule will affect the economy by $100 million or more

     annually, prepare and issue:

        o a “preliminary regulatory analysis” for public comment that

           must contain a “description of any reasonable alternatives”

           and a “preliminary analysis of the projected benefits and any


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           adverse economic effects” for both the rule and its potential

           alternatives, id. § 57b-3(a)(1)(A), (b)(1); and

        o a “final regulatory analysis” for any final rule, including

           further analysis on top of the preliminary regulatory analysis

           and a response to “comments submitted . . . in response to the

           preliminary regulatory analysis,” id. § 57b-3(b)(2).

The few rules that made it through that uniquely restrictive process took

years, and sometimes over a decade, of proceedings before the

Commission.     S. Hrg. 111-647, at 61-62 (Feb. 4, 2010) (Commerce,

Science, and Transportation Committee hearing listing the Commission’s

Section 18 rulemakings).

     The Commission soon realized that all these limitations, checks,

and procedural hurdles were meant to nearly “prohibit” it “from

proposing or imposing regulatory burdens on industry under its own

initiative” and return that authority to Congress. Ask the Commissioner:

Federal Trade Commissioner Christine Varney, 14 No. 2 ACCA Docket

36, 36 (1996). The Commission accordingly finalized a few industry-

specific rules regarding, for example, eyeglasses and home insulation, in

the early 1980s before almost ceasing all new rulemakings for decades.


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See Beales & Muris, supra, at 8; S. Hrg. 111-647, at 61-63. Since then,

the Commission has focused almost exclusively on updating, amending,

or repealing its existing Section 18 rules. See Beales & Muris, supra, at

13. In fact, until the past few years, the Commission had issued only one

new rule under Section 18—a “Business Opportunity Rule” that was little

more than an outgrowth of the Commission’s longstanding Franchise

Rule. 76 Fed. Reg. 76,816, 76,817 (Dec. 8, 2011).1

       Although the Commission’s rulemaking process is onerous and

circumscribed, it does come with a big payoff for the agency: Once the

Commission has promulgated a rule under Section 18, it can enforce it

directly against covered parties. See 15 U.S.C. § 45(m). The Commission

thus need not go through an administrative cease-and-desist and

potential judicial review process before seeking civil penalties, as it must

for Section 5 violations. See id. § 45(b), (c), (l). Rather, it can simply

commence a civil action seeking more than $53,000 per violation. Id.

§ 45(m); 90 Fed. Reg. 5580 (Jan. 17, 2025) (setting civil penalty).


1
  The Commission has organized these rules on its website by each
industry    covered.           Legal    Library:     Rules,   FTC.gov,
https://www.ftc.gov/legal-library/browse/rules (last accessed Feb. 14,
2025).


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        Although the Commission has only ever promulgated a handful of

Section 18 rules, and (until recently) had issued almost no new Section

18 rules since Congress completed the Magnuson-Moss reforms, it has

promulgated rules under other statutory grants of authority.                    For

example, Congress has over the years granted the Commission specific

rulemaking authority over motor vehicle dealers, 12 U.S.C. § 5519(d),

telemarketing practices, 15 U.S.C. § 6101, energy labeling requirements,

42 U.S.C. § 6294(b)(2), and fair credit reporting, see 16 C.F.R. ch. I, subch.

F. The Commission has exercised those specific rulemaking powers.

E.g., 16 C.F.R. pt. 310 (telemarketing); id. § 463.1 (auto dealers); id. pt.

305 (energy labeling).

B.      Recurring Subscriptions

        Recurring subscriptions are commonplace contracts that have been

used since at least the nineteenth century.             In essence, a recurring

subscription provides some good or service to a customer on a continuing

basis until the customer cancels. That basic arrangement offers the

customer the convenience and security of knowing that the customer will

not stop receiving the good or service simply because the customer forgets

to renew. Magazine publications began to offer recurring subscriptions



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in the nineteenth century, and, by the end of that century, it was common

to find publications announcing that subscriptions would continue

indefinitely until cancelled. See, e.g., The Woman’s Journal, April 4,

1891; The Record of Christian Work, January 1894; Journal of Education,

March 4, 1897, at 144. Book-of-the-month clubs followed soon thereafter.

See Mark T. Spriggs & John R. Nevin, Negative Option Selling Plans:

Current Forms Versus Existing Regulations, 15 J. Pub. Pol’y & Mktg. 227,

227 (1996). From those early days, recurring subscriptions have been

analyzed like any other contract—and a party’s silence could operate as

consent if established by prior agreement.           Restatement (First) of

Contracts § 72 (1932).

     Today, recurring subscriptions are used in virtually all industries

and professions. Newspapers, internet providers, cable providers, video

streaming services, food preparation services, cloud storage services,

utility services, and lawn care services—to name a few examples—all

offer recurring subscriptions as a convenient way of ensuring that

consumers receive goods or services on an uninterrupted basis until they

decide to cancel.    Naturally, these recurring subscriptions look very

different for different services. A lawn care subscription could involve


                                       15
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informal, verbal arrangements that are updated on an ad hoc basis,

whereas a subscription for security services can involve complex

contractual terms that last for years unchanged. Compare Stay App.408

with Stay App.144-45. Similarly, consumer subscriptions can look very

different than those used by sophisticated businesses; a corporate office

park with recurring subscriptions for security could have different needs

than the average consumer.             The consequences of some recurring

subscriptions ending unintentionally can be stark—no one, for example,

would suddenly want to discover that their medical monitoring or home

security services had ended by their inadvertence or the actions of

criminals.

     Before Congress enacted Magnuson-Moss, the Commission adopted

a regulation for a specific type of recurring subscription: “prenotification

plans,” where sellers provide notices of offers for physical goods and then

ship and charge for the goods if the consumer does not decline the offer.

App.385-86, 448 (Add.2-3, 65). When it promulgated that regulation, the

Commission focused on book-of-the-month clubs and record clubs. See 38

Fed. Reg. 4,896, 4,899 (Feb. 22, 1973). The Commission also relied in

part on the then-recently enacted Unordered Merchandise Statute, 39


                                        16
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U.S.C. § 3009, which prohibits sending unordered merchandise to

consumers, see 38 Fed. Reg. at 4,908.         Neither that statute nor the

Commission’s prior regulation, however, reached any other type of

recurring subscription.

     In the years since the Commission issued that rule and Congress

enacted Magnuson-Moss, Congress has established its own set of

regulations for other recurring subscriptions.          But Congress hasn’t

covered all recurring subscriptions, and for those it has covered, it hasn’t

adopted a one-size-fits-all approach. Rather, Congress has enacted five

separate statutes regulating particular recurring subscriptions offered

by specific industries or over certain media.

     For example, Congress has enacted statutes governing recurring

electronic funds transfers, 15 U.S.C. §§ 1693c(a), 1693e(a) (Electronic

Fund Transfer Act of 1978 (“EFTA”)), and recurring subscriptions offered

by cable and satellite television providers, 47 U.S.C. § 562.                The

Telemarketing and Consumer Fraud and Abuse Prevention Act of 1994

(“Telemarketing Act”) directed the Commission to prescribe rules

“prohibiting deceptive telemarketing acts or practices” outside the

strictures of Section 18; the Commission included recurring subscriptions


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offered by telemarketing in its Telemarketing Sales Rule. 15 U.S.C.

§ 6102(a)(1); 16 C.F.R. § 310.3(a)(1)(vii).        More recently, the Restore

Online Shoppers’ Confidence Act of 2010 (“ROSCA”) regulates recurring

subscriptions offered online, 15 U.S.C. § 8403, and a 2021 statute

requires a discrete list of disclosures for recurring subscriptions offered

by broadband providers, 47 U.S.C. § 1753(a) (incorporating FCC Public

Notice, DA: 16-357 (Apr. 4, 2016)).

        Many states, too, have enacted statutes that regulate recurring

subscriptions, with varying requirements and scopes that reflect each

state’s preferences. For example, California, Colorado, and Florida have

enacted statutes that regulate recurring subscriptions in different ways.

Cal. Bus. & Prof. Code §§ 17600-17606; Colo. Rev. Stat. § 6-1-732; Fla.

Stat. § 501.165. But many states, including Iowa and Missouri, have not

enacted any statutes regarding recurring subscriptions, leaving them

subject to the common law of contracts.

C.      The Rule

        Not satisfied with Congress’s or the states’ work, the Commission

promulgated the Rule, by a 3-2 vote, to establish a one-size-fits-all code

for over a billion recurring subscriptions used by over three-quarters of



                                          18
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American consumers across the economy. The rulemaking process began

with an innocuous, bipartisan advance notice of proposed rulemaking

(“ANPRM”) in 2019. See App.1-6; App.450 (Add.67); 84 Fed. Reg. 52,393

(Oct. 2, 2019). The ANPRM chiefly asked a series of benign questions

regarding the Commission’s old, narrow Prenotification Negative Option

Rule, such as whether there was “a continuing need for the Rule as

currently promulgated” and “[w]hat modifications, if any,” the

Commission should make to it. App.5. The ANPRM elicited only 17

comments. App.451 (Add.68).

     When the Commission’s composition changed in 2021, that

rulemaking process underwent a major evolution. App.449-51 (Add.66-

68). First, to “streamline” the Magnuson-Moss procedural requirements,

the Commission amended its rules of practice in 2021 by a 3-2 vote to

compress the rulemaking timeline and diminish the rigor of informal

hearings. See id.; 86 Fed. Reg. 38,542 (July 22, 2021). Then, in April

2023, the Commission issued a notice of proposed rulemaking (“NPRM”)

that proposed a series of new, complex regulations on all recurring

subscriptions everywhere.      App.44-46; 88 Fed. Reg. 24,716 (Apr. 24,

2023).   Among other things, the NPRM proposed new regulations


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regarding the disclosures, consent mechanisms, and cancellation

mechanisms used for recurring subscriptions. Id. The NPRM’s proposed

regulations also reached contracts between sophisticated businesses that

often negotiate the terms of their recurring subscription contracts. That

NPRM generated about 16,000 comments from across the economy.

App.451 (Add.68).

     The NPRM caught multiple commenters’ eyes both for what it

contained and for what it lacked: evidence of prevalence, and a

preliminary regulatory analysis.            For prevalence, the Commission

mustered only a dozen enforcement actions it had taken and claimed that

the FTC, states, and consumer organizations receive “thousands” of

complaints, App.35—a number that, even if accurate, is miniscule

compared to the billion-plus recurring subscription contracts economy-

wide. The cited enforcement actions and referenced complaints also

didn’t document prevalent unfair or deceptive acts or practices in many

industries that the rule would affect, such as the lawn care, cable, or

security industries. Id. As for the preliminary regulatory analysis, the

Commission flatly said that it didn’t need to provide one. App.41. The

Commission insisted that, despite proposing such a broad rule that would


                                       20
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immediately affect over 220 million Americans and at least 106,000

businesses, it didn’t think the rule would affect the economy by $100

million or more annually—even though that figure would represent less

than $1,000 in average compliance costs for each affected business

annually. App.41, 43.2

       The Commission then held an informal hearing, and the ALJ

allowed for limited submissions and cross-examination relating to

whether the Rule would reach the $100 million threshold. App.337.

Several interested parties offered detailed submissions and expert

reports on the proposed rule’s costs—while the Commission submitted no

evidence at all. App.297-332; App.325-335; App.339-344; App.353-61;

App.380. The ALJ presiding over the hearing then concluded that the

proposed rule would affect the economy by $100 million or more

annually—a fact that the Commission has now conceded.                    App.381;


2
  The Commission’s estimate of the number of businesses that offer
recurring subscriptions was artificially low. To reach that number, the
Commission guessed that only 20% of businesses in some artificial set of
industries offer recurring subscriptions. App.435 (Add.52). Yet at least
one commenter estimated that up to 60,000 car wash providers alone
offer recurring subscriptions. App.429 (Add.46). The Commission didn’t
take into account that number, and it conceded that it lacked data to
quantify business-to-business subscriptions. App.445 n.639 (Add.62).


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App.425-27 (Add.42-44). Nevertheless, the Commission never issued any

preliminary regulatory analysis that the public could comment on.

       Instead, less than three weeks before the presidential election, the

Commission issued the final Rule by a 3-2 vote to much fanfare.3 Stay

App.130-31. The Commission acknowledged that several other statutes

and regulations already address certain recurring subscriptions in more

limited ways than the Rule. App.386-87 (Add.3-4). The Commission also

conceded that the Rule will extend more broadly to over a billion

recurring subscriptions used by                over 220 million Americans—

representing around three-quarters of our nation’s consumers. App.431

(Add.48). In fact, the Commission emphatically declared that it was

tossing     out   “the   old    [prenotification    plan]   Rule’s    prescriptive

requirements” in favor of new, “flexible” standards applicable to “all


3
  Among other things, then-Chair Khan, then-presidential candidate
Kamala Harris, and the White House all posted about the Rule on social
media.      See, e.g., Lina Khan, Posting on X (Oct. 16, 2024),
https://x.com/linakhanFTC/status/1846610107867484522?mx=2;         Vice
President Kamala Harris, Posting on X (Oct. 16, 2024),
https://x.com/VP46Archive/status/1846593909679407520; see also White
House,         Posting     on      X       (Oct.      16,        2024),
https://x.com/WhiteHouse46/status/1846566780988178538; Today, New
FTC Rules Aim to Make It Easier to Cancel Subscriptions (Oct. 16, 2024)
(available on YouTube).


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forms of negative option marketing” across “all media” and “nearly every

economic sector.” App.394 (Add.11).

     The Commission also admitted that it lacked evidence of prevalent

unfair or deceptive acts or practices in every industry that the Rule

covers. App.391-92 (Add.8-9). In fact, the Commission again mustered

only a few dozen cases, the majority of which were settled and never

litigated, representing a miniscule fraction of the billion-plus covered

subscriptions, alongside a few studies that almost all focus on deceptive

“free trials” that roll into paid recurring subscriptions.          App.389-91

(Add.6-8).   Indeed, for some industries, such as newspapers, the

Commission cited at most a few complaints or examples of an unfair or

deceptive practice. App.391-92 n.103 (Add.8-9 n.103).

     Nevertheless, the Rule imposes the following regulations on anyone

who offers subscription agreements:

  • A Misrepresentation Ban: Companies may not misrepresent “any

     Material fact,” regardless of whether the fact relates to the

     recurring subscription feature, the underlying good or service, or

     anything else. Rule § 425.3.




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• A Disclosure Requirement: Companies must disclose “all Material

   terms” prior to obtaining the customer’s billing information,

   “regardless of whether those terms directly relate to the [recurring

   subscription] [f]eature.” Rule § 425.4(a). The disclosure must be

   “immediately adjacent” to the means of recording the consumer’s

   consent to the recurring subscription, id. § 425.4(b)(2)(i), yet they

   must also be “Clear and Conspicuous”—they must, for example,

   “stand out from any accompanying text or other visual elements”

   and be “unavoidable” if offered over any electronic medium. Id.

   §§ 425.2, 425.4(b).

• A Separate Consent Requirement: Companies must obtain a

   customers’ “unambiguously affirmative consent to the [recurring

   subscription] [f]eature offer separately from any other portion of the

   transaction.” Rule § 425.5(a)(1) (emphasis added).

• Speech Restrictions: Companies cannot provide “any other

   information that interferes with, detracts from, contradicts, or

   otherwise undermines” consumers’ ability to either “read, hear, see,

   or otherwise understand” the required disclosures or to consent to

   the recurring subscription feature. Rule §§ 425.4(b)(3), 425.5(a)(2).


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  • A Cancellation Requirement: Companies must provide a “simple

     mechanism for a consumer to [immediately] cancel” the recurring

     subscription that is “at least as easy to use as the mechanism the

     consumer used to consent” to the subscription. Rule § 425.6(a)-(b).

     If customers sign up for a subscription by electronic means, the

     company may not require customers to interact with live or virtual

     representatives when the customer seeks to cancel unless the

     customers consents. Id. § 425.6(c)(1).

     The Rule specifies that it preempts only state laws that do not

afford “greater protection” than it. Rule § 425.7.

     Commissioner Holyoak and now-Chair Ferguson both dissented,

with Commissioner Holyoak noting that she had mere “weeks” “to review

this economy-wide Rule” because of the Commission’s “rush to the finish

line” before the presidential election. App.449 (Add.66). Commissioner

Holyoak also explained that the Rule exceeds Section 18’s “specificity”

requirement, and that the Commission “failed to appropriately establish

the ‘prevalence’ of unfair and deceptive practices related to all [recurring

subscriptions]” that the Rule covers. App.451 (Add.68).




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D.      Petitioners’ Challenges

        Petitioners are or represent sellers from all manner of industries

that offer recurring subscription plans, including security services, lawn

care, newspapers, magazines, telecommunications, cable, internet, video

streaming, health services, fitness, and advertising companies. Those

sellers range from small, family-owned companies to large, nationwide

ones.     Yet the Rule will regulate all Petitioners or their members

(collectively, “Petitioners”) with equal force.

        Petitioners are Custom Communications, Inc., d/b/a Custom Alarm,

a family-owned security services company; the Electronic Security

Association, Inc., representing home security companies and emergency

services; the Interactive Advertising Bureau, representing 700 media

companies, brand marketers, and technology companies; NCTA – The

Internet & Television Association, representing cable and broadband

operators and cable TV programmers; the U.S. Chamber of Commerce,

representing more than 300,000 companies that provide a wide range of

goods and services; the Georgia Chamber of Commerce, representing a

wide variety of companies operating in Georgia; the Michigan Press

Association, representing newspapers and magazines in Michigan; and



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the National Federation of Independent Business, Inc., representing

hundreds of thousands of small businesses across the country.

                       SUMMARY OF ARGUMENT

     The Rule must be set aside in its entirety for three independent

reasons: it exceeds the Commission’s limited authority; it is procedurally

defective; and it is arbitrary and capricious.

     I. Exceeds the Commission’s Authority. This plenary, one-size-fits-

all regulation of all recurring subscriptions everywhere is precisely what

Congress meant to put an end to in enacting Magnuson-Moss. Congress

gave the Commission only a limited power to promulgate “specific[]” rules

targeting “prevalent” unfair or deceptive acts or practices—guardrails

meant to restrict the Commission to rulemakings that target well-defined

unlawful practices in particular industries. Section 18 thus allows the

Commission to regulate only particular, widespread unfair or deceptive

practices in certain industries—not to issue prophylactic rules that limit

commerce across the economy based on a perceived risk of unfair or

deceptive practices.

     Yet this Rule extends to all recurring subscriptions in every

industry, imposing regulations with loose language such as “material” or


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“easy.” None of that is “specific[].” Additionally, the Commission has

conceded that it does not have evidence that all affected industries have

“prevalent” unfair or deceptive recurring subscriptions. The failure to

satisfy either of Section 18’s specificity or prevalence requirements

means that the Rule exceeds the Commission’s statutory authority and

constitutes an end-run around Section 5’s procedures for the imposition

of civil penalties.

      Congress’s own regulation of recurring subscriptions confirms that

the Rule’s breadth is unlawful. Congress’s statutes target specific groups

or classes of recurring subscriptions with custom regulations for each

category of subscriptions. Yet the Rule would wipe out those distinctions,

imposing a more stringent set of requirements on all recurring

subscriptions—including       subscriptions    that   Congress      has    never

regulated. Indeed, the Commission will now deem recurring subscription

agreements unfair or deceptive if they fail to comply with the Rule, even

if those agreements comply with all applicable federal statutes. Congress

never authorized the Commission to take such a step.

      Any doubt is resolved by the nondelegation doctrine.                If the

Commission could declare a historically common and often beneficial


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form of contract unlawful without evidence of prevalent unfair practices

and in the teeth of Congress’s own more tailored statutory schemes, it

would raise serious questions about which body was acting as the

legislature. Congress cannot have allowed the Commission to override

Congress’s own work, and principles of constitutional avoidance counsel

against the Commission’s sweeping view of its Section 18 authority.

     II. Procedurally Improper. Beyond those failures, the Rule must

be set aside because the Commission concedes that it didn’t issue a

statutorily required preliminary regulatory analysis. That analysis was

supposed to be a critical step in the rulemaking process and allow the

public to engage with the Commission on the costs and benefits of the

rule and its potential alternatives. The FTC Act expressly directs courts

to “set aside” rules for the Commission’s failure to issue this analysis. 15

U.S.C. § 57b-3(c)(1).

     III. Arbitrary and Capricious. The Rule must also be set aside

because it is arbitrary and capricious. The Commission failed adequately

to grapple with several key problems that the Rule will cause by, among

other things, treating all recurring subscription agreements in the entire

country the same way and making it harder for consumers to learn


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beneficial information from their service providers. In some situations,

the Commission acknowledged that there would be a problem with a

particular requirement, but then simply pretended that the Rule didn’t

contain that requirement. The APA does not permit such a blinkered

view of reality.

                        STANDARD OF REVIEW

      Section 18 provides that courts “shall hold unlawful and set aside

the [R]ule” if it is arbitrary and capricious, unconstitutional, in excess of

the Commission’s authority, or without observance of procedure required

by law. 15 U.S.C. § 57a(e)(3) (incorporating 5 U.S.C. § 706(2)(A)-(D)).

Courts should also “set aside” the Rule “if the Commission has failed

entirely to prepare a regulatory analysis.”            Id. § 57b-3(c)(1); id.

§ 57a(e)(3).

      “Courts must exercise their independent judgment in deciding

whether an agency has acted within its statutory authority.”               Loper

Bright Enters. v. Raimondo, 603 U.S. 369, 412 (2024).              An agency’s

procedural violations also compel vacatur unless the error “clearly had

no bearing on the procedure used or the substance of [the] decision

reached.” Nat’l Auto. Dealers Ass’n v. FTC, ___ F.4th ___, 2025 WL


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304460, at *7 (5th Cir. Jan. 27, 2025).            Although courts give some

deference to agencies under arbitrary-or-capricious review, they must

ensure that the agency action is not “internally inconsistent” and is

“reasonable and reasonably explained.” Firearms Regul. Accountability

Coal., Inc. v. Garland, 112 F.4th 507, 519-20 (8th Cir. 2024).

                                   ARGUMENT

I.      The Rule Exceeds The Commission’s Limited Statutory
        Authority.

        No other federal agency is subject to the tight rulemaking

constraints that Congress imposed on the Commission. The Rule exceeds

the Commission’s limited statutory authority for two distinct reasons.

First, the Rule is not “specific” as Section 18 requires.             Second, the

Commission lacks evidence that the Rule covers only “prevalent” unfair

or deceptive acts or practices. Were there any doubt on either score, it

would be resolved by Congress’s own statutes regarding recurring

subscriptions, as well as the nondelegation doctrine.

        A.    The Rule Violates The “Specificity” Requirement.

        Section 18 authorizes the Commission to promulgate only “rules

which define with specificity acts or practices which are unfair or

deceptive.”      15 U.S.C. § 57a(a)(1)(B).     The Rule goes far beyond the


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“specificity” constraint in two different ways. First, the term “specificity”

limits the scope of the Commission’s rules, and this economy-wide, all-

industry Rule exceeds that limit.         Second, the term “specificity” also

requires unambiguous regulations that give precise guidance on what

acts or practices are not permitted. But the Rule is rife with ambiguous

terms, and the Commission itself declared that it needed to use vague

language in the Rule to encompass all the billion-plus subscriptions at

issue. Either of those excesses is fatal to the Rule.

            1.    The Rule Is Overbroad

      By definition, a Rule that targets over a billion commonplace

contracts used by 220 million American consumers and businesses in

every industry from newspapers to health care is not “specific[].” The

plain meaning of “specificity” and legislative history of Magnuson-Moss

both confirm that, at most, the Commission can issue rules on an

industry-by-industry basis. See, e.g., Katharine Gibbs Sch. (Inc.) v. FTC,

612 F.2d 658, 662, 667 (2d Cir. 1979) (remanding an “overbr[oad]” rule

for lacking “specificity”).

      In the 1970s, as today, “specificity” meant “the condition of being

peculiar to a particular individual or group.” Specificity, Webster’s Third



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New International Dictionary 2187 (1976); Specificity, Merriam-

Webster.com (last accessed Feb. 14, 2025) (same); see also Specific,

American Heritage Dictionary 1681 (5th ed. 2018) (“limited, distinctive,

or unique”); Specific, Merriam-Webster.com (last accessed Feb. 14, 2025)

(“constituting or falling into a specifiable category”). That language thus

calls for rules that are targeted and focused on particular practices in

definable industries. See supra, at 9-13. It does not permit economy-wide

rules that affect a billion-plus contracts, including contracts entered

between sophisticated businesses, with almost nothing in common except

some highly generalized trait that the Commission comes up with.

     Congress made that clear in enacting Magnuson-Moss and its

progeny.   Before Magnuson-Moss, the Commission had issued rules

regarding, for example, door-to-door sales and prenotification plans that

addressed general topics and cut across different industries. See supra,

at 8. In response, Congress reined in the Commission’s “broad” authority,

noting that the Commission should “continue to specify such matters” as

“what octane rating should be posted on gasoline pumps.” S. Conf. Rep.

93-1408, at 7763-64 (1974) (emphasis added).              That narrow focus

reflected Congress’s view that Section 18 gave the Commission only


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“authority to issue industry-wide rules”—not economy-wide rules—on

discrete topics. S. Rep. 96-500, at 3 (1979) (emphasis added). Again and

again, across multiple statutes, Congress specifically noted that Section

18 granted only the “authority to issue industry-wide trade regulation

rules,” H.R. Rep. 103-138, at 3 (1993) (emphasis added), “trade regulation

rules,” S. Conf. Rep. 93-1408, at 7763 (emphasis added), and rules that

operate “on an industrywide basis,” S. Rep. 96-500, at 17 (emphasis

added). But there is no “recurring subscription” industry. There are

many industries that offer recurring subscriptions, but many of those

industries have little to nothing else in common.

     When the Commission tried to issue rules like this one under

Section 18, Congress rejected them. After Congress enacted Section 18’s

“specificity” limit, the Commission proposed more sweeping rules

regarding children’s advertising and the general standards for the

quality, weight, and measure of goods and materials—neither of which

were tethered to any industry. See supra, at 9-10. Congress denounced

those proposed rules as “overly broad” and “beyond the intent of

Congress.” S. Rep. at 96-500, at 2. In a remarkable example of legislative

oversight, Congress defunded the Commission, directly terminated those


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rulemaking proceedings, and forbade the Commission from undertaking

rulemakings on those subjects. See supra, at 9-13. Congress made its

intent to scale back the agency’s rulemakings crystal clear, stating that

“[t]he children’s advertising proceeding . . . shall not proceed further,”

and “the Commission shall not develop or promulgate any trade rule or

regulation with regard to . . . the standards and certification” of goods

and materials or children’s advertising. Pub. L. No. 96-252, §§ 7, 11, 94

Stat. 374, 376, 379 (1980). Yet this Rule is exactly like those discredited

regulations: “overly broad,” “far reaching,” and extending across multiple

industries throughout the economy. S. Rep. at 96-500, at 2-3.

     The rules that Congress did not block only confirm the point. All of

the Commission’s surviving rules from that era were limited to specific

industries like home insulation, ophthalmic practices, or funeral homes.

See S. Hrg. 111-647, at 61-63; see supra, at 9-10, 12-13. Even the broadest

rules issued under Section 18 before the past few years were limited to

either the financial industry or the franchising and business opportunity

industries. See 16 C.F.R. pts. 436, 437, 444.

     In fact, the Commission itself has recognized as much over the

years.    In the 1990s, then-Commissioner Varney discussed how


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Magnuson-Moss restricted the Commission “from proposing or imposing

regulatory burdens on industry.” Ask the Commissioner, supra, 14 No. 2

ACCA Docket at 36. In 2010, then-Chair Leibowitz stated to Congress

that the Commission’s rules might “establish clear standards for

industry.” S. Hrg. 111-647, at 59. Even today, the Commission states on

its website that it has authority “to issue industry-wide regulations,” and

lists its Section 18 rules under specific industry headings. Rulemaking,

FTC.gov            (last        accessed          Feb.          14,         2025),

https://www.ftc.gov/enforcement/rulemaking;           Legal    Library:     Rules,

FTC.gov (last accessed Feb. 14, 2025), https://www.ftc.gov/legal-

library/browse/rules.4 Yet not one of its industry headings captures this

economy-wide Rule.

       Congress has legislated on that assumption as well, providing the

Commission with separate rulemaking powers over, e.g., car dealers,

energy labeling, and fair credit reporting. 12 U.S.C. § 5519(d); 42 U.S.C.

§ 6294(b)(2); 16 C.F.R. ch. I, subch. F. Those statutes are likewise limited


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  For example, the Commission’s website lists the Credit Practices Rule
under the “Finance” industry. Legal Library: Rules, FTC.gov, supra. But
the Commission has not listed this Negative Option Rule under any
industry heading. Id.


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to specific industries, with varying requirements, confirming again that

Congress has consistently wanted the Commission to issue rules no wider

than on an industry-by-industry basis and with customized standards for

individual industries.

     Yet after decades of almost no use, and notwithstanding Magnuson-

Moss’s strict limits, the Commission is suddenly asserting that Section

18 is really a license to regulate a billion contracts used by 220 million

Americans for everything from their home security to their meal-delivery

services. Accord NFIB v. Dep’t of Lab., 595 U.S. 109, 119-20 (2022) (per

curiam) (“OSHA, in its half century of existence, has never before adopted

a broad public health regulation of this kind . . . . This lack of historical

precedent, coupled with the breadth of authority that the Secretary now

claims, is a telling indication that the mandate extends beyond the

agency’s legitimate reach.” (quotation marks omitted)). Just take the

Commission’s own words: the Rule will “establish a common set of

requirements applicable to all types of negative option marketing,” across

“all media” and in “nearly every economic sector.” App.394 (Add.11). Yet




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both Congress and the Commission had recognized for decades that vast,

economy-wide rules are exactly what Section 18 prohibits.5

       Congress’s use of the word “specificity” is therefore a critical

limitation on the scope of the Commission’s rulemaking power under

Section 18. Its plain meaning requires the application of rules to a

“particular individual or group,” which in the context of Section 18 means

on an industry-by-industry basis. Specificity, Webster’s, supra, at 2187.

Any broader interpretation of Section 18 would permit the Commission

to play games with the level of generality in its rules, looking for just the

right gossamer thread to unite however many contracts, advertisements,

or practices that it wants to regulate. “[T]aken to its logical conclusion,”

almost anything “could be considered unfair” under the Commission’s




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  As other agencies have suddenly discovered such similarly expansive
authority, the Supreme Court has repeatedly cautioned that courts must
“hesitate before concluding that Congress” conferred an “[e]xtraordinary
grant[] of regulatory authority” in a “rarely . . . used” or “vague” statute.
West Virginia v. EPA, 597 U.S. 697, 723-25 (2022) (cleaned up); Biden v.
Nebraska, 143 S. Ct. 2355, 2373 (2023). And as particularly relevant
here, courts must be even “more hesitant to recognize” such expansive
powers “against a backdrop of an agency failing to invoke them
previously.” N.C. Coastal Fisheries Reform Grp. v. Capt. Gaston LLC, 76
F.4th 291, 297 (4th Cir. 2023).


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approach. See S. Rep. 96-500, at 2 (rejecting that approach). That’s not

what Section 18 allows.

     At a minimum, a Rule that is broader than all of Congress’s statutes

addressing allegedly unfair and deceptive subscriptions combined is

surely not “specific.” Congress is not bound by any “specificity” limit, yet

even that body has never lumped all recurring subscriptions together like

the Commission did here. Instead, Congress has mostly targeted specific

industries that use recurring subscriptions, such as cable and broadband

providers, or electronic fund transfers. 15 U.S.C. § 1693c; 47 U.S.C.

§§ 562, 1753.     At its broadest, Congress has regulated recurring

subscriptions only over a specific medium: the internet. 15 U.S.C. § 8403.

But even that statute is narrower than the Rule. If Congress never

treated recurring subscriptions as a single category subject to the same

restrictions when it enacted these statutes, then the Rule can’t do so

within Section 18’s “specificity” limit.

           2.     The Rule Is Impermissibly Vague

     The Rule also fails the “specificity” requirement because it is replete

with vague and ambiguous standards. The effect of those amorphous

standards is an end-run around Section 5 of the FTC Act, giving a case-



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by-case enforcement power to impose civil penalties without complying

with Section 5’s protections.

     To be specific, a rule must be “free from . . . ambiguity.” Specific,

Webster’s, supra, at 2187; see also, e.g., Katharine Gibbs Sch., 612 F.2d

at 662 (forbidding “possible future violations of [a rule’s] remedial

requirements” is not specific).        But to capture the myriad different

contracts   that    the     Rule   covers—including        contracts    between

businesses—the Rule self-consciously adopts “flexible . . . standards” that

will need to be defined on a case-by-case basis. App.394 (Add.11).

     In many places, the Rule leaves key terms undefined altogether.

The requirement for an “easy” or “simple” cancellation, for example, does

not define those vague standards. Rule § 425.6(b). Although the Rule

claims to offer some “minimum” requirements for a “simple” mechanism,

it never says whether complying with those requirements is sufficient to

avoid liability. Id. § 425.6(c). And even those minimum requirements

ultimately refer to the same “easy” standard as well. Id. What is “easy”

may differ from context to context, and company to company. Companies

will need to guess whether scrolling down a webpage requires too much

effort to be “easy,” or whether their identity verification procedures are


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too difficult to be “simple,” among countless other judgment calls.

Because the Rule covers so many contracts, that guesswork will take

wildly different forms for companies offering everything from medical

monitoring to internet broadband.

     The Rule’s definition of “Material fact” is even less helpful. Under

the Rule, it means anything “likely to affect a person’s choice of, or

conduct regarding, goods or services.”            Rule § 425.2.       The Rule

incorporates that definition both when banning misrepresentations of

any “Material fact” and when requiring disclosures of any “Material”

terms—including terms and facts that are about the underlying good or

service (or other unspecified terms) that have nothing to do with the

recurring subscription feature.        Id. §§ 425.3, 425.4(a).     That critical

definition is anything but specific. By the Commission’s own telling,

whether any given term in any particular contract is “Material” will

“vary” depending on the term and contract at issue. App.393 (Add.10).

Companies offering goods and services as varied as cloud computing

storage and pet meal deliveries will thus need to guess as to whether the

Commission will believe that any particular terms or facts are likely to

affect their customer’s choices. Are facts about the ethical sourcing of pet


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food likely to influence customer’s choices?              Do cloud computing

subscriptions need to disclose the location of their data servers? The Rule

itself offers no guidance.

       Another vague standard is the Rule’s prohibitions on information

that   “interferes   with,    detracts    from,    contradicts,    or   otherwise

undermines” the required disclosures or consent mechanism.                    Rule

§§ 425.4(b)(3), 425.5(a)(2). The broad phrasing and catch-all language

proscribe a wide swath of information, and regulated sellers lack

sufficient notice of what specific information is prohibited. Companies

again will need to guess as to whether any particular statement “detracts

from” or somehow “undermines” a required disclosure—or whether the

Commission will later view their statements as violating those

amorphous standards.

       The upshot of these fuzzy standards is “a back-door effort at

obtaining civil penalties in any industry where” recurring subscriptions

are used. App.451 (Add.68). Because the Rule issued under Section 18,

the Commission can enforce it directly in court and seek penalties of more

than $53,000 per violation. 15 U.S.C. § 45(m). The tradeoff for that

power, however, is the requirement that prohibited conduct be defined


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with specificity so that regulated parties know in advance what is

required of them. Here, the Commission promulgated a rule designed to

proscribe the broadest reach of commerce and retain the maximum

discretion for enforcement staff. See App.394 (Add.11) (the Commission

“eliminat[ed] the old Rule’s prescriptive requirements applicable to

prenotification plans and replac[ed] them with flexible, but enforceable,

standards” applicable to “all forms of negative option marketing . . . in all

media . . . over nearly every economic sector”). Section 18 abolished this

style of Commission rulemaking.

     If the Commission wanted to define unfair or deceptive conduct on

a case-by-case basis, it was obligated to proceed under Section 5—not

Section 18.    Under Section 5, the Commission must go through an

administrative and judicial review process before it can even try to hold

companies liable—all of which ensures that the Commission gives notice

to companies before imposing penalties under this broad grant of

authority. 15 U.S.C. § 45(a), (c), (l); see also AMG Cap. Mgmt., LLC v.

FTC, 593 U.S. 67, 72-73 (2021). But if the Commission issues a rule,

Section 18 requires that the rule be precise and clear to ensure that the

Commission does not obtain a Section 5 power without following Section


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5’s safeguards. Here, because the Rule lacks the requisite “specificity”

and further constitutes an end-run around Section 5, it must be vacated.

     B.    The Rule Violates The “Prevalence” Requirement.

     The Rule independently must be vacated because it exceeds Section

18’s “prevalence” requirement.         That requirement applies to all the

practices that any given rule deems unfair or deceptive.               Here, the

Commission claims that there are prevalent unfair or deceptive practices

regarding recurring subscriptions across the economy, including both

consumer and business-to-business subscriptions, despite the existence

of these commonplace contracts for well over a hundred years. See supra,

at 14-15. But extraordinary claims of prevalence require extraordinary

proof. The Commission has not come close to that showing.

     When this requirement was added in 1994, “prevalence” meant

(and still means) “widely or commonly occurring,” Prevalent, American

Heritage College Dictionary 1084 (3d ed. 1993), “existing very

commonly,” Prevalent, Cambridge International Dictionary 1102 (1995),

or “dominant,” Prevalent, Merriam-Webster.com. Section 18 contains

two prevalence requirements: First, the Commission is permitted to issue

a notice of proposed rulemaking only if “it has reason to believe that the



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unfair or deceptive acts or practices which are the subject of the proposed

rulemaking are prevalent.”               15 U.S.C. § 57a(b)(3); see also id.

§ 57a(b)(3)(A)-(B) (limiting any finding of prevalence to situations where

the Commission “has issued cease and desist orders regarding such acts

or practices” or there is a “widespread pattern” of unfair or deceptive

practices). Second, when issuing a final rule, the Commission must issue

a statement of basis and purpose that includes “a statement as to the

prevalence of the acts or practices treated by the rule.” Id. § 57a(d)(1)(A).

By its plain text, Section 18 thus requires a Rule that regulates more

than a billion existing contracts to be supported by evidence of not just

the existence but the dominance of the targeted unlawful practice across

all of the particular trade sectors being regulated.               Id. § 57a(b)(3),

(d)(1)(A).6 Yet again, the Commission has not come close to that showing.


6
  The Commission has asserted that the Court cannot review the
prevalence requirement. FTC Stay Opp. at 12. But Section 18 precludes
judicial review only of the “contents and adequacy” of the statutorily
required “statement of basis and purpose”—and Petitioners don’t
challenge that statement. Rather, Petitioners challenge the Rule as
contrary to law because the Commission has not met the prevalence
requirement, and Section 18 expressly permits reference to the
Commission’s reasoning when reviewing the Rule for legal excesses,
insubstantial evidence, or arbitrary rationales. 15 U.S.C. § 57a(e)(3);
Am. Optometric Ass’n v. FTC, 626 F.2d 896, 906 (D.C. Cir. 1980). At a


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     To start, the Commission has identified at most a handful of

examples of unfair recurring subscriptions for some of the sectors that

the Rule covers. For example, the Commission cites only four examples

of allegedly unfair or deceptive recurring subscriptions between

businesses.    App.397 (Add.14).       Yet the Rule will cover all these

subscriptions, including those sold by newspapers to libraries; by

internet companies to Fortune 500 companies; by lawn companies to

commercial office parks; and by security companies to sports arenas.

     Similarly, the Commission cites one example of a supposedly unfair

lawncare subscription and four examples of supposedly unfair newspaper

subscriptions. App.392, 420 (Add.9, 37). The Commission cites only a

handful of discrete examples for other industries—not a widespread

pattern or dominant practice. E.g., App.389-392 (Add.6-9). And for many

industries that will be covered by the Rule, such as pet food or medical

monitoring, it cites no examples at all.

     Even if the Rule were limited to one of the industries for which the

Commission had some examples (and thus was “specific”), those


minimum, the required prevalence finding in the NPRM has nothing to
do with the required statement of basis and purpose. 15 U.S.C.
§ 57a(b)(3).


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examples would surely be insufficient because they fail to establish that

the challenged practices are widely or commonly occurring or dominant

even within a single industry. Yet the Rule will regulate all recurring

subscriptions in all of these industries.        That ignores Section 18’s

prevalence requirement.

     To create the illusion of prevalence, the Commission refers to “at

least 35” enforcement actions it has taken, a smattering of state

enforcement actions and private lawsuits, and a couple of comments

about “free trials” that many recurring subscription providers don’t offer.

App.389-91 (Add.6-8). But the Commission might as well have said that

its cases and complaints “involving the internet means that the entire

internet should be the subject of a Section 18 rulemaking.” App.451

(Add.68). Even crediting the Commission’s examples, they amount to a

tiny fraction of the billion-plus subscriptions that the Rule will govern.

And the Commission does not even attempt to justify the Rule’s

application to any particular industry, preferring instead to extrapolate

from these few examples. App.385, 391-91 (Add.2, 8-9). That is far too

slapdash to satisfy the prevalence requirement that is meant to cabin the

Commission’s rulemaking authority. If prevalence in Section 18 means


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anything, it must at least mean that the deceptive act or practice is a

dominant occurrence in each sector of the economy that the FTC is

regulating.

       Even the few examples that the Commission did muster don’t hold

up on closer inspection. Most of the Commission’s own enforcement

actions settled, so there was no adjudicated finding of liability. 7 Most

also involved an alleged violation of ROSCA, the EFTA, or state law, so

there’s no reason to think an additional rule was needed to address those

particular cases.       And similar problems plague the Commission’s

references to unverified consumer complaints or class actions.                 See

App.389, 392 (Add.6, 9).          Even if these citations somehow could

encompass a statistically significant number of recurring subscriptions

(they don’t), the Commission never bothers to verify any of these

complaints or tie them to any specific practice.             The Commission’s


7
 E.g., FTC v. FloatMe Corp., No. 5:24-cv-00001 (W.D. Tex. 2024); FTC v.
WealthPress, Inc., No. 3:23-cv-00046 (M.D. Fla. 2023); FTC v. Bridge It,
Inc., No. 1:23-cv-09651 (S.D.N.Y. 2023); FTC v. Credit Bureau Ctr., LLC,
No. 1:17-cv-00194 (N.D. Ill. 2017); FTC v. NutraClick, LLC, No. 2:16-cv-
06819 (C.D. Cal. 2016); FTC v. Pact, Inc., No. 2:17-cv-1429 (W.D. Wash.
2017); FTC v. AdoreMe, Inc., No. 1:17-cv-09083 (S.D.N.Y. 2017); FTC v.
BunZai Media Grp., Inc., No. 2:15-cv-04527 (C.D. Cal. 2015); FTC v.
RevMountain, LLC, No. 2:17-cv-02000 (D. Nev. 2017).


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“prevalence” findings are thus no more than ipse dixit on a remarkably

thin record.

     The Commission’s insistence that there are “prevalent” problems

with recurring subscriptions is a symptom of its lack of specificity when

defining the problem “at the highest level of generality” in the first place.

App.451 (Add.68). The Commission has to extrapolate from small sample

sizes or studies focused on only particular examples of problems because

it would be a herculean task to actually document prevalence for all of

the different contracts, practices, and industries that the Rule covers.

And by covering practices as generalized as “misrepresentations,” or

contracts that are not “easy” to cancel, the Commission can reverse-

engineer Section 18 to fit whatever it pleases. By saying, for example,

that the relevant problem is contracts that are not “easy” to cancel, the

Commission sets itself up to find problems everywhere. But Congress

demanded more. The Commission cannot bootstrap prevalence from its

own lack of specificity.

     C.    The Rule Overrides Numerous Federal Statutes That
           Already Regulate Recurring Subscriptions.

     The Rule’s invalidity is confirmed by Congress’s other statutes

regarding recurring subscriptions.          That is because the Rule second-

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guesses Congress’s judgment about what practices are lawful and

unlawful for those recurring subscriptions, harkening back to the

agency’s efforts to sit as a super-legislature.

     First, the Rule is broader than any of Congress’s regulations of

recurring subscriptions.      Congress has provided separate rules for

subscriptions offered by telemarketers, cable, broadband, and electronic

fund transfer providers, as well as those offered online. See 15 U.S.C.

§§ 1693c (EFTA), 6102 (Telemarketing Act), 8403 (ROSCA); 47 U.S.C.

§§ 562 (cable), 1753 (broadband). Yet in one fell swoop, the Rule would

add additional requirements to all of those different subscriptions, as

well as subscriptions that Congress has never regulated—such as

security or medical monitoring subscriptions offered over the telephone

or in person. There is little reason to think Congress would have gone to

this trouble if it believed the Commission were authorized to do this.

     Second, the Rule nullifies Congress’s customized regulations for

particular recurring subscriptions. For example, the 2021 Infrastructure

Act requires a “consumer label[]” for broadband subscriptions that

includes a discrete list of terms, including the monthly price, download

speed, and upload speed of the service. 47 U.S.C. § 1753(a); FCC Public


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Notice, DA: 16-357.         The EFTA, however, requires electronic funds

transfers to disclose different terms, such as the consumer’s right to stop

payment and receive documentation of the transfers.                    15 U.S.C.

§ 1693c(a)(5)-(6). Similarly, the EFTA provides that consumers can stop

a fund transfer three days before the transfer occurs, id. § 1693e(a), but

the Television Viewer Protection Act provides that consumers can cancel

a cable or satellite TV subscription within 24 hours after they receive a

copy of required disclosures, 47 U.S.C. § 562.

     The Rule would wipe out all of those differences in one fell swoop.

Overnight, all the recurring subscriptions already governed by those

customized statutes will suddenly face a new, one-size-fits-all Rule that

requires more than Congress ever required. For example, this new Rule

will mandate disclosing all material terms—not just the list of terms that

Congress    detailed   for     certain   transactions—and        a   cancellation

requirement that is more restrictive than even the requirement that

Congress imposed in ROSCA just for online subscriptions. See 15 U.S.C.

§ 8403 (requiring a “simple” cancellation mechanism, without any same

mechanism requirement or limits on customer interaction). And the Rule

would deem all these businesses to be engaged in unfair or deceptive


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practices even if they comply with all of Congress’s specific requirements.

That is precisely the sort of power-grab that Section 18 is meant to

prevent.

     D.    The Rule Contravenes The Nondelegation Doctrine.

     The statutory violations are plain on their face. Were there any

doubt, however, the nondelegation doctrine would resolve it. Under that

doctrine, Congress must have “supplied an intelligible principle to guide”

the Commission’s “use of discretion.” Gundy v. United States, 588 U.S.

128, 135 (2019) (plurality op.). Although Congress has prohibited use of

an “unfair or deceptive act or practice,” 15 U.S.C. § 45(a)(1), (n), that

standard does not help when the Commission is overriding Congress’s

own judgments as to what practices cross the line. That’s what this Rule

does: it decides that recurring subscriptions are unfair or deceptive even

if they comply with statutes, like ROSCA, that already declare certain

practices to be unfair or deceptive. Id. § 8403. If the Commission has

authority to override Congress’s judgments, it surely needs a more

definitive principle on when to do so.

     At a minimum, the Court should construe Section 18 to “avoid[]

[the] kind of open-ended grant” of authority that affirmance of the Rule



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would require. Indus. Union Dep’t, AFL-CIO v. Am. Petroleum Inst., 448

U.S. 607, 646 (1980) (plurality op.); see also Fort Worth & Denver Ry. Co.

v. Lewis, 693 F.2d 432, 435 (5th Cir. 1982). Were the Rule authorized by

Section 18, then it would surely raise “the type of non-delegation concerns

that Section 18’s guardrails were meant to prevent.” App.451 (Add.68);

see also Planned Parenthood of Mid-Mo. & E. Kan., Inc. v. Dempsey, 167

F.3d 458, 461 (8th Cir. 1999). When faced with such problems, this Court

has consistently construed statutes to “avoid” them where possible.

Planned Parenthood, 167 F.3d at 461; see also Wallace v. ConAgra Foods,

Inc., 747 F.3d 1025, 1031-32 (8th Cir. 2014). Here, a reading that avoids

these problems is not only possible, but the most straightforward

interpretation of Section 18’s plain text, as understood by Congress and

the Commission itself for decades. Section 18 allows for only industry-

wide rules that specifically regulate prevalent unfair or deceptive

practices—a narrow authority that does not risk overriding Congress’s

judgments. This Rule exceeds that authority.

                                 *     *     *

     All of these problems would have been avoided if the Commission

had adhered to the substantive strictures that Congress imposed on


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Section 18. The Commission could have attempted to promulgate specific

rules with concrete terms that are tailored to particular industries, just

as Congress intended in the Magnuson-Moss reforms.                     But the

Commission overreached. This Rule exceeds the Commission’s statutory

authority under Section 18 of the FTC Act.

II.   The Commission Violated A Key Procedural Requirement
      By Failing To Issue A Preliminary Regulatory Analysis.

      The Rule’s excesses may have been caused in part by the

Commission’s failure to follow a critical procedural step that is fatal

under the FTC Act: issuing a preliminary regulatory analysis that the

public could comment on. 15 U.S.C. § 57b-3(b)(1). Congress added that

procedural requirement in response to the Commission’s prior attempts

to issue sweeping regulations under Section 18, such as the rules banning

television advertising to children or the standards for the weights and

measures of goods. Pub. L. No. 96-252; see supra, at 9-10. In doing so,

Congress meant to help focus and shape the Commission’s rulemakings,

“curtailing serious adverse effects” of potential rules. S. Rep. 96-500, at

29.

      The Commission accordingly “shall issue a preliminary regulatory

analysis” whenever it estimates that a rule will affect the economy by

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$100 million or more annually.              15 U.S.C. § 57b-3(a)(1)(A), (b)(1)

(emphasis added); see also Me. Cmty. Health Options v. United States,

590 U.S. 296, 310 (2020) (“shall” is “mandatory”). The analysis must

describe alternatives to the rule and set forth a preliminary cost-benefit

analysis of both those alternatives and the proposed rule. 15 U.S.C.

§ 57b-3(b)(1). The Commission must then provide a “public comment

period in response to the preliminary regulatory analysis” before issuing

a “final regulatory analysis” that responds to those comments. Id. § 57b-

3(b)(2)(E). Through that process, Congress meant to “aid the Commission

in shaping its rules in a manner that will reduce the burdens of

regulation on business.” S. Rep. 96-500, at 9.

     Here, the Commission concedes that the Rule will affect the

economy by $100 million or more annually. App.425 (Add.42). Yet the

Commission also concedes that it didn’t issue a preliminary regulatory

analysis. FTC Stay Opp. at 15-16. Under the statute’s plain terms, that

“fail[ure] entirely to prepare a regulatory analysis” means that the Rule

must be “set aside.” 15 U.S.C. § 57b-3(c)(1); see also id. (referring to “any

regulatory analysis”).




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     The Commission tries to dodge this straightforward conclusion by

insisting that it issued a final regulatory analysis. FTC Stay Opp. at 15-

16. But that’s no substitute for the process that Congress required—

which mandates a separate preliminary regulatory analysis that the

public can review and comment on. That separate preliminary analysis

is a critical tool that allows the public to comment on the costs and

benefits of alternatives to the proposed rule, helping the Commission

narrow or shape the rule. Here, for example, the public never got the

chance to point out that the Commission’s cost-benefit analysis missed

several significant costs that the Rule will impose while overstating its

benefits.   Nor did the public get the chance to engage with the

Commission’s cost-benefit analyses on potential alternatives that may

have achieved the same goals in a less costly manner.

     The final regulatory analysis doesn’t make up for those

shortcomings. Among other things, it doesn’t need to contain an analysis

of the costs and benefits of alternatives to the rule, and it skips entirely

the public’s ability to comment on the preliminary analysis.                 See

15 U.S.C. § 57b-3(b)(1)-(2); S. Rep. 96-500, at 3 (the process “require[s]

the Commissioners to more carefully weigh the relationship between the


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alleged unlawful conduct and the proposed remedy” and “carefully

analyz[e]” all available “options”). Indeed, the Commission’s discussion

of alternatives to the Rule in the final regulatory analysis consisted of

three paltry paragraphs with only two alternatives, one of which was to

terminate the rulemaking altogether.              App.426 (Add.43).          The

Commission cannot shirk its statutory duty and shortchange the public

like this.

      The Commission has also suggested that it didn’t need to issue a

preliminary regulatory analysis because, when it issued the NPRM, it

hadn’t yet realized that the Rule would affect the economy by $100

million or more. FTC Stay Opp. at 15-16. But that’s no excuse. The

statute requires a preliminary regulatory analysis for “any case in which

the Commission publishes notice of a proposed rulemaking” of a rule that

will have these effects. 15 U.S.C. § 57b-3(b)(1) (emphasis added). The

Commission certainly issued an NPRM and not long after realized that

the Rule will affect the economy by $100 million or more annually.

App.26, App.143, App.179, App.381. Once the Commission understood

this economic impact, it was obligated to issue a preliminary regulatory

analysis for public comment. 15 U.S.C. § 57b-3(b)(1), (2)(E). Nothing in


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the statute requires that the preliminary regulatory analysis appear

alongside the NPRM.

       Regardless, the Commission should have known the likely costs of

the Rule based on its sheer scope. And it would have known those costs

if it had accurately described the “area of inquiry under consideration”

and the “objectives which the Commission seeks to achieve” in the

ANPRM—rather than its severely downplayed ANPRM that elicited only

17 comments. See supra at 18-19; App.167. If the Commission had been

up front that it was considering an economy-wide rule that encompassed

all recurring subscriptions everywhere, it certainly would have received

additional comments on the expected costs of an economy-wide rule and

the actual number of businesses affected by the Rule. See supra, at 18-

21 & n.2. And the Commission then could have turned square corners,

issuing a preliminary regulatory analysis in 2023 and responding to

public comment on it in the final rule. But instead, the Commission

skipped an important step in the notice and comment process. 8 Accord


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 In the same vein, the Commission also skipped a mandatory procedural
step when it “precluded disclosure of disputed material facts which was
necessary for fair determination . . . of the rulemaking proceeding taken
as a whole” by refusing to hear multiple disputed issues of material fact


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Nat’l Auto. Dealers Ass’n, 2025 WL 304460, at *8 (vacating the CARS rule

for failing entirely to issue an ANPRM).

     In any event, the Commission’s initial claim that the Rule would

not affect the economy by $100 million or more annually was specious

even with the record it had. As the ALJ later found, the Commission’s

initial cost estimate was “clearly unrealistically low”—because at least

80% of affected businesses would already have to be in full compliance

with the Rule for the Commission’s claim to hold water. App.382. If so,

then the Rule would be tilting at windmills. Id. But the Commission

insisted that the Rule is needed because of supposedly prevalent

problems with recurring subscriptions.         App.35.     The Commission’s

attempt to have it both ways in the NPRM would be arbitrary and

capricious and require vacatur.        See Firearms Regul. Accountability

Coal., Inc., 112 F.4th at 519-20 (agency actions are arbitrary and

capricious if they are “internally inconsistent”).

     And again, once the ALJ settled the question that the proposed rule

would “have an annual effect on the national economy of $100,000,000 or


raised by the public and restricting the public’s ability to participate in
the informal hearing mandated by Magnuson-Moss.                 15 U.S.C.
§ 57a(b)(1)(C), (c)(2), (e)(3)(B).


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more,” the Commission should have performed the then-triggered

requirement to issue the preliminary regulatory analysis and make it

available for public comment before adopting the Rule. 15 U.S.C. § 57b-

3(a)(1)(A), (b)(1). The Commission’s failure to do so by itself requires

vacatur of the Rule. Id. § 57b-3(c)(1).

III. The Rule Is Arbitrary And Capricious.

     The Rule should be vacated for the independent reason that it is

arbitrary and capricious.      See 15 U.S.C. § 57a(e)(3) (incorporating 5

U.S.C. § 706(2)(A)). Agency rules are arbitrary and capricious when the

agency has “failed to consider an important aspect of the problem, offered

an explanation for its decision that runs counter to the evidence before

the agency,” or offered an explanation that is simply “implausible.” Motor

Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983). At bottom, the Commission must have provided “a satisfactory

explanation for its action” for the Rule to survive. Ohio v. EPA, 603 U.S.

279, 292 (2024). But the Commission did not make that showing here.

The Commission failed to grapple with multiple problems that this vast




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Rule will create while contradicting itself in its rush to issue the Rule

right before the election.

     The Rule’s cancellation requirement illustrates the problems. Rule

§ 425.6. The obligation to ensure that cancellation is “as easy to use as”

the sign-up mechanism and over the “same medium” as sign-up might

sound simple enough, but the reality is far more complex. Because the

Rule is so broad, it encompasses many instances where that requirement

is unworkable and counter-productive. In the security services industry,

for example, whenever someone tries to cancel a security service, the

service needs to ensure that the correct person is cancelling and that they

are not doing so by mistake. See, e.g., App.88, App.190-91; Stay App.153-

55. These are real-world problems; many companies need to ensure that

malicious actors are not wrongfully cancelling a security, fire, medical, or

other sensitive service. But if the service allowed a customer to sign up

by an email contract or similar online mechanism, then the Rule would

restrict the company in having a representative speak with the customer

to verify the customer’s identity, ensure that their email wasn’t hacked,




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or confirm that cancellation is desired before terminating their service.

See Rule § 425.6(c)(1); App.88; App.190-91; Stay App.153-55.

     The Commission promises it will allow for reasonable verification

at cancellation, App.414 (Add.31), but that is cold comfort.                  The

Commission did not place that assurance in the Rule’s text, and

elsewhere the Commission warns that “a final Rule-compliant online

cancellation should take no more than 30 seconds to one minute,”

App.428 (Add.45), so the Commission has made clear that companies are

now under a ticking stopwatch. Companies will be chilled from taking

important steps to protect their customers under the Rule.               App.88,

App.190-91; Stay App.153-55.           The Commission also has said that

“reasonable verification” cannot lead to “asymmetrical experiences” and

that cancellation must be over the “same medium” as sign-up—all of

which would, as noted, prevent the email sign-up company above from

having the customer talk to a representative or provide another form of

verification before cancelling. The Commission never addressed those

problems.

     Similarly, the Commission never adequately addressed how

companies can make cancellation as easy as sign-up for bundled services.


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With bundled services, a customer can sign up for multiple services at

once, often for a discounted price—such as a cable and internet bundle,

or a gym membership and spa services combo. Because such discounted

bundles are popular, companies often make them easy to sign up for;

customers just pick a pre-arranged bundle and sign up online. App.114-

15, 132. But what if the customer wants to cancel only one of the bundled

services? The company might need to interact with the customer to

explain the impact on the price or availability of the remaining service.

See, e.g., App.131-32.

     Yet under the Rule, the company cannot do so unless the customer

consents. Rule § 425.6(c)(2). Companies are similarly hindered in their

ability to describe lower cost options or alternative services when a

customer, without knowing what they are missing, declines a live

interaction. App.133-34. Notably, none of these problems occurs under

the statutes that Congress enacted. ROSCA, for example, requires a

simple cancellation mechanism but still allows companies to have

customer representatives conduct adequate verification of, and convey

important information to, customers wishing to cancel. See 15 U.S.C.

§ 8403. Despite creating these problems, the Commission simply swept


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them under the rug, making it harder for consumers to get beneficial

information. App.418 (Add.35).

     The Rule’s requirement that companies obtain consent to the

recurring subscription feature “separately from” the rest of the

transaction is also arbitrary and capricious. Rule § 425.5. For almost all

contracts, this requirement will necessitate two different consents: one

for the recurring subscription (as required by the rule), and one for the

rest of the transaction (as required by contract law). See Restatement

(Second) of Contracts § 18 (1981) (contracts require mutual assent). The

Commission effectively conceded as much, stating that recurring

subscription features are not themselves “a product or service.” App.410

(Add.27).

     Yet a two-step requirement will be costly and prove near-impossible

for many industries, such as lawn care services that customers often

request on an informal basis. Stay App.408; see also App.191. The

Commission conceded this point as well, stating that a two-step consent

requirement is “unnecessary, potentially confusing, and may be hard to

implement” and removing an express two-step consent requirement from

the Rule. App.410 (Add.27). But at the same time the Commission


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acknowledged in a footnote that the Rule effectively requires two-step

consent anyway.      App.410 n.350 (Add.27 n.350).           The Commission

obviously has not grappled with this important aspect of the problem.

See State Farm, 463 U.S. at 42.

     The Commission was also arbitrary and capricious in its adoption

of the definition of “Material.” First, the Commission contradicted itself

when approaching that definition.           In some places, the Commission

asserted that it was providing “clarity” to companies by defining

“Material” as “likely to affect” a consumer’s choices. App.401 (Add.18).

But elsewhere, the Commission insisted that it needed to leave the

definition of “Material” vague because more concrete guidance would

“make its rules no better than a leaky sieve,” unable to address the

“vary[ing]” terms that might matter to different contracts.             App.393

(Add.10). The Commission cannot have this both ways. The Rule either

provides clarity and guidance (as Section 18 requires), or it is malleable

and open-ended (which the Rule is). That contradiction was arbitrary

and capricious. See Firearms Regul. Accountability Coal., Inc., 112 F.4th

at 519-20 (agency actions are arbitrary and capricious if they are

“internally inconsistent”).


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       Second, the Commission was arbitrary and capricious by extending

the scope of materiality far beyond the recurring subscription features

that it said was the problem at issue. Again, the Rule requires

disclosures of “all Material terms”—including terms that have nothing to

do with the recurring subscription feature (ranging from, say, calorie

content to carbon emissions). Rule § 425.4; see also id. § 425.3. But the

Commission has never justified regulating statements about the

underlying good or service, or even the company, that are untethered

from    the   recurring     subscription.    That   mismatch      between     the

Commission’s stated goals and the scope of the Rule is illogical.

IV.    The Rule Should Be Vacated.

       Because of the Rule’s manifold defects, the Court should vacate it

in its entirety. Section 18 itself directs that courts “shall hold unlawful

and set aside the rule” if it is contrary to law, arbitrary and capricious,

or procedurally defective. 15 U.S.C. § 57a(e)(3) (emphasis added). That

text requires that “[i]n all cases,” unlawful “agency action must be set

aside.” Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 413-14

(1971) (emphases added).




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     Accordingly, when this Court has found an agency rule to be

unlawful, it has “vacated” it, whether for substantive or procedural error.

North Dakota v. EPA, 730 F.3d 750, 764 (8th Cir. 2013); see Iowa League

of Cities v. EPA, 711 F.3d 844, 875-76 (8th Cir. 2013) (vacating rule that

was issued “without observance of procedure required by law”); see also

Nat’l Auto. Dealers Ass’n, 2025 WL 304460, at *8 (“vacat[ing] the

[Commission’s] CARS Rule” for failure to issue ANPRM).                 The legal

violations here—including the lack of statutory authority, failure to

follow statutorily required procedures, and failure to grapple with

multiple problems that this            overbroad Rule will create while

contradicting itself—are serious and fundamental, and each serve as

independent bases for this Court to vacate this Rule too.

                              CONCLUSION

     On a rushed election-year schedule, the Commission blew past the

uniquely restrictive limitations on its rulemaking power that Congress

imposed in direct response to the agency’s past regulatory excesses. This

economy-wide Rule that regulates every single recurring subscription in

America—regardless of industry, nature of the relationship, or any other

rational consideration—exceeds the Commission’s authority, fails to


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satisfy mandatory statutory process, and dispenses with reasoned

decisionmaking.     For all these reasons, the Court should grant the

petitions for review and vacate the Rule.



Dated: February 18, 2025                Respectfully submitted,

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     I hereby certify that on February 18, 2025, an electronic copy of the

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